Pro Se 14 (Rev. 12/] 6) Complaint f'or Violation cf C`ivil Ri§hts (Prisoner)

UNITED STATES DISTRICT CoURT

for the

,jf:¢/¢// f District of icm/353 '2-2/

(§.M,/E/_'" Division
Case No. 7 l YC/V©| &_ ,

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/712¢_»1)€ ,.D. __ dal/th D_c /|/
Plat'ntt`[f(s)
(W:'t`te tlie_nrll name of each plaintiff who is_ft`[ing this complaint
Ifthe names ofa!l the plaintiffs cannot_fl`t in the space abovel
please write “see attached " in the space and attach an additional
page with diean list o_fnames.)
_v-

. _‘ n f _'
[,',tp'm_m 6 t:; 7 me 5
Defendnnt(s)
(Wrt'te aheth name of each defendant who is being sned. lf the
names ofat'l the defendants cannot/it in the space above please
write "see attached " in the space and attach an additional page
with the full fist of names Do not include addresses here.)

COMPLAINT FOR VIOLATION OF CIVIL RIGHTS
(Prisoner Cornplaint)

 

NOTICE

Federal Rules of Civil Procedure 5.2 addresses the privacy and security concerns resulting from public access to
electronic court files. Under this rule, papers filed with the court should not contain: an individual’s full social
security number or full birth date; the full name of a person known to be a minor; or a complete financial account
number. A filing may include only: the last four digits of a social security number; the year of an individual’s
birth; a minor’s initials; and the last four digits of a financial account number.

Except as noted in this form, plaintiff need not send exhibits, afiidavits, grievance or witness statements, or any
other materials to the Clerk’s Of`fice with this complaint

ln order for your complaint to be filed, it must be accompanied by the filing fee or an application to proceed in
forma pauperis

 

 

 

Page 1 of ll

Case 1:18-Cv-00512-NCT-LPA Document 2 Filed 06/18/18 Paoe 1 of 14

Pro Se 14 (Rev. 12116) Complaint for Violation of Civil Rights (Prisoner}
I. The Parties to This Complaint

A. The Plaintif`f(s)

Provide the information below for each plaintiff named in the complaint Attach additional pages if
needed.

Name 7;@ art/§ C"[ lt }> }`) €_U 7
All other names by which

you have been known:

ID Number / § 706 aj _
Current Institution §§ j /U` C" /,{U g CV H g i_
Address n n
w.'asln;»c i$`al¢_w' )U` C_ 62_7/ 01
Ct'tji State Zip Code

B. The Defendant(s)

Provide the information below for each defendant named in the complaint, whether the defendant is an
individual, a government agency, an organization, or a corporation Make sure that the defendant(s)
listed below arc identical to those contained in the above caption. For an individual defendant, include
the person’s job or title (t'fk¢wwn) and check whether you are bringing this complaint against them in their
individual capacity or official capacity, or both. Attach additional pages if needed

Defendant No. l

Name m f }%P I*I¥ l 19 753 ET Il.. l; 3
Job or Title (;‘flmown) C A ‘PT¥_A;_] !\}j j _ , _
Shield Numbcr ? 7 _ _ , _ ,
Employer F;_) RSYT\-\ ,B‘ET_E t\J` T \ O l\)_ C l_’_. l\~)`\_l'___}:_ j
Address 301 )\_;. C\%\;')‘eLH ¢ST , __
\A)\`~A§\er,‘v\_ %¢‘~L~t_\\/\ _ \\)£ 97|{/ i __
Cit_v Stnte Zi`p Code

m Individual capacity §§ Official capacity

Def`endant No. 2
Name
Job or Title (;'ftmown)
Shield Number
Employer
Address

' Ci:_i: __ Srm‘e iep Co¢ie
I:| Individual capacity |:| Of`ticial capacity

PageZ of ll

Case 1:18-Cv-00512-NCT-LPA Document 2 Filed 06/18/18 Paoe 2 of 14

Pro Se 14 (Rev. 12f16) Complaint for Violaticn of Civil Rights (Prisoner)

II.

Defendant No. 3
Name
Job or Title (g‘fknown)
Shield Number
Employer
Address

_Cr'i;v :S'tnte Zip aide
|:| lndividual capacity m Official capacity

Defendant No. 4
Name
Job or Title (tfknown)
Shield Number
Employer
Address

atty - State - 7 _Zip C'i.\de
I:| Individual capacity |:l Ofticial capacity

Basis for .Iurisdiction

Under 42 U.S.C. § 1983, you may sue state or local officials for the “deprivation of any rights, privileges, or
immunities secured by the Constitution and [f`ederal laws].” Under Bivens v. Six Unknown Named Agents of

Fedei'al Bureau ofNarcotics, 403 U.S. 388 (] 971 ), you may sue federal officials for the violation of certain
constitutional rights

A.

Are you bringing suit against (check att that apply):
|] Federal officials (a Bi`vens claim)

m State or local officials (a § 1983 claim)

Section 1983 allows claims alleging the “deprivation of any rights, privileges, or immunities secured by
the Constitution and [federal laws].” 42 U.S.C. § 1983. If you are suing under section 1983, what
federal constitutional or statutory right(s) do you claim is/are being violated by state or local officials?

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Plaintiffs suing under Bt'vens may only recover for the violation of certain constitutional rights. lf you

are suing under Bt'vens, what constitutional right(s) do you claim is/are being violated by federal
officials?

Page3 of 11

Case 1:18-Cv-00512-NCT-LPA Document 2 Filed 06/18/18 Paoe 3 of 14

Pro Se 14 (Rev. 12!16) Complaint for Violation ofC`ivil Rights (Prisorrer)

III.

IV.

Section 1983 allows defendants to be found liable only when they have acted “under color of any
statute, ordinance, regulation, custom, or usage, of any State or Territory or the District of Columbia.”
42 U.S.C. § 1983. If you are suing under section 1983, explain how each defendant acted under color
of state or local law. If you are suing under Bt'vens, explain how each defendant acted under color of
federal law. Attach additional pages if needed [/W/;,/g, ',t 5'1{_ /5/'/{ 5' ;bg;¢¢¢{" pa A¢?K¢ /

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because dr /ia,g }L,""",M/ lw,/?{,r,j£%.

Prisoner Status

Indicate whether you are a prisoner or other confined person as follows (check all that appty):

E|:||:||:|EB.

A.

B.

Pretrial detainee

Civilly committed detainee

Immigration detainee

Convicted and sentenced state prisoner
Convicted and sentenced federal prisoner

th€l' (explnin)

Statement of Claim

State as briefly as possible the facts of your case. Describe how each defendant was personally involved in the
alleged wrongful action, along with the dates and locations of all relevant events. You may wish to include
further details such as the names of other persons involved in the events giving rise to your claims. Do not cite
any cases or statutes If more than one claim is asserted, number each claim and write a short and plain
statement of each claim in a separate paragraph Attach additional pages if needed.

If the events giving rise to your claim arose outside an institution, describe where and when they arose. \<

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If the events giving rise to your claim arose in an institution, describe where and when they arose.

Page 4 of ll

Case 1:18-Cv-00512-NCT-LPA Document 2 Filed 06/18/18 Paoe 4 of 14

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Case 1'18-cv-00512-NCT-LPA Document 2 Filed 06/18/18 Paoe 5 of 14

Pro Se 14 (Rev. 12/16) Complaint for Viofation of Civil Rights (Prisoner)

C. What date and approximate time did the events giving rise to your claim(s) occur?
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D. What are the facts underlying your claim(s}? (For example: What happened to you? Who did what?
Was anyone else involved? Who else saw what happened?)

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V. lnjuries
If you sustained injuries related to the events alleged above, describe your injuries and state what medical

treatment, if any, you required and did or did not receive.

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VI. Relief

State briefly what you want the court to do for you. Make no legal arguments Do not cite any cases or statutes
If requesting money damages, include the amounts of any actual damages and/or punitive damages claimed for

the acts alleged. Explain the basis for these claims. -Z day /é_/‘ // 164 q c /
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Pagc 5 of ll

Case 1:18-cv-00512-NCT-LPA Document 2 Filed 06/18/18 Paoe 6 of 14

Pro Se 14 (Rev‘ 12/16) Comp]aint for Violation of Civil Rights (Prisoner)

VII.

Exhaustion of Administrative Remedies Administrative Procedures

The Prison Litigation Reforrn Act (“PLRA”), 42 U.S.C. § l997e(a), requires that “[n]o action shall be brought
with respect to prison conditions under section 1983 of this title, or any other Federal law, by a prisoner confined
in any jail, prison, or other correctional facility until such administrative remedies as are available are
exhausted.”

Administrative remedies are also known as grievance procedures Your case may be dismissed if you have not
exhausted your administrative remedies

A.

Did your claim(s) arise while you were confined in a jail, prison, or other correctional facility?

LX] Yes

ENO

lf yes, name the jail, prison, or other correctional facility where you were confined at the time of the
events giving rise to your claim(s).

aaa ria/y bastian cw-l¢_{/y¢.-:/

Does the jail, prison, or other correctional facility where your claim(s) arose have a grievance
procedure?

m Yes

|:|No

[:| Do not know

Does the grievance procedure at the jail, prison, or other correctional facility where your claim(s) arose
cover some or all of your claims?

[:| Yes
|:| No

w Do not know

lf yes, which claim(s)?

Page 6 of ll

Case 1:18-cv-00512-NCT-LPA Document 2 Filed 06/18/18 Paoe 7 of 14

Pro Se 14 (Rev. 12l16) Complaint for Violation of Civil Rights (Prisoner]

D.

Did you file a grievance in the jail, prison, or other correctional facility where your claim(s) arose
concerning the facts relating to this complaint?

M Yes

|:|No

If`no, did you file a grievance about the events described in this complaint at any other jail, prison, or
other correctional facility?

|:| Yes
|:] No

If you did file a grievance:

1. Where did you file the grievanee?
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2. What did you claim in your grievance?

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3. What was the result, if any?

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4. What steps, if any, did you take to appeal that decision? ls the grievance process completed? If
not, explain why not. (Descrr'l)e all efforts 10 appeal to the highest level of the grievance process.)

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Page 7 of ll

Case 1:18-cv-00512-NCT-LPA Document 2 Filed 06/18/18 Paoe 8 of 14

Pro Se 14 (Rev. 12116) Complaint for Violation of Civil Rigllts (Pri soner)

F. lf you did not file a grievance:

l. If there are any reasons why you did not file a grievance, state them here:

2. lf you did not file a grievance but you did inform officials of your claim, state who you informed,
when and how, and their response, if any:

G. Please set forth any additional information that is relevant to the exhaustion of your administrative
remedies

z:K/t»g)r ")[s twa rt /r[n r/rr,el

(Note.' You may attach as exhibits to this complaint any documents related to the exhaustion ofyour
administrative remedi'es.)

VIII. Previous Lawsuits
The “three strikes rule” bars a prisoner from bringing a civil action or an appeal in federal court without paying
the filing fee if that prisoner has “on three or more prior occasions, while incarcerated or detained in any facility,
brought an action or appeal in a court of the United States that was dismissed on the grounds that it is frivolous,
malicious, or fails to state a claim upon which relief may be granted, unless the prisoner is under imminent
danger of serious physical injury.” 28 U.S.Ct § l9l$(g).

To the best of your knowledge, have you had a case dismissed based on this “three strikes rule”?

|:| Yes
[72] No

If` yes, state which court dismissed your case, when this occurred, and attach a copy of the order if possible.

Page 8 of ll

Case 1:18-cv-00512-NCT-LPA Document 2 Filed 06/18/18 Paoe 9 of 14

Pro Se 14 (Rev. 12l16) Complaint for Violation of Civil Righ£(l’risoner)

A. Have you filed other lawsuits in state or federal court dealing with the same facts involved in this
action?

w Yes

|:|No

B. lf your answer to A is yes, describe each lawsuit by answering questions l through 7 below. (lf there is
more than one lawsuit describe the additional lawsuits on another page using the same format )

1. Parties to the previous lawsuit

manning ij-¢,M r@(¢r@l_<,{mg g __
Defendant(s) j _ C¢ (PMW{ _Ll\/l¢;;'t.§r,l g __

2. Court (if_ federal conrt, name the district,‘ ifstate coart, name the county and State)

M lloll)i_i_“{ B\`S'L'( "C,'\;_

3. Docket or index number

}: 13 C;\/ 36

4. Name of Judge assigned to your case

L ;D&'l§(:c`t hold

5. Approximate date of filing lawsuit

1161-State

6. ls the case still pending?

|XI Yes
m No

If`no, give the approximate date of disposition

7. What was the result of the case? (For example.' Was the case dismissed ? Was judgment entered
in yourfavor? Was the case appealed?)

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C. Have you filed other lawsuits in state or federal court otherwise relating to the conditions of your
imprisonment?

Page 90f li

Case 1:18-cv-00512-NCT-LPA Document 2 Filed 06/18/18 Paoe 10 of 14

Pro SE 14 (Rev. 12/16) Complaint for Violation of Civil flights (Prisoner)

[:] Yes
§ NO

D. If your answer to C is yes, describe each lawsuit by answering questions l through 7 below. (H there is
more than one lawsuit describe the additional lawsuits on another page, using the sameformat.)

l. Parties to the previous lawsuit
Plaintiff(s)
Def`endant(s)

2. Court (if:federal conrt, name the districl,' ifstate conrt, name the county and State)

3. Docket or index number

4. Name of Judge assigned to your case

5. Approximate date of filing lawsuit

6. Is the case still pending‘?

E Yes
|:| No

If no, give the approximate date of disposition

7. What was the result of the case? (For example: Was the case dismissed ? Was judgment entered
in your favor? Was the case appealed?)

Page 10 of ll

Case 1:18-cv-00512-NCT-LPA Document 2 Filed 06/18/18 Paoe 11 of 14

Pro Se l4 (Rev. 12l16) Complaint for Violation of Civil Rights (Prisoner)

IX.

Certification and Closing

Under Federal Rule of Civil Procedure ll, by signing below, l certify to the best of my knowledge, information,
and belief that this complaint (1) is not being presented for an improper purpose, such as to harass, cause
unnecessary delay, or needlessly increase the cost of litigation; (2) is supported by existing law or by a
nonfrivolous argument for extending, modifying, or reversing existing law; (3) the factual contentions have
evidentiary support or, if specifically so identified, will likely have evidentiary support after a reasonable
opportunity for further investigation or discovery; and (4) the complaint otherwise complies with the
requirements of Rule ll.

A. F or Parties Without an Attorney

I agree to provide the Clerk’s Office with any changes to my address where case~related papers may be
served. l understand that my failure to keep a current address on file with the Clerk’s Office may result
in the dismissal of my case.

Date of signing: jude /'o?/ ___Q 0 / l.'l

signature of Plainiirr yj/,,M ,_ QM/J _€,/},;¢.;~M,
Printed Name of Plaintif`f ’,7}'/_,394_/-5 3 ‘ 61 [A, b 155 U
Prison Identitication # /(Q 755 jj 9
Prison Address {QL` / /t/. ['A',.w felt j'/'
ghi/h krs'L/¢ 5;./¢/‘/ /L/,C'J g 7/,£:1/',
Cr't_v State Zip Code
B. For Attorneys
Date of signing:
Signature of Attorney
Printed Name of Attorney
Bar Number
Name of Law Firm
Address
f 'C_i¢y slate " zip dade
Telephone Number

E-mail Address

Page llof ll

Case 1:18-cv-00512-NCT-LPA Document 2 Filed 06/18/18 Paoe 12 of 14

OFFICE OF T]§l]il S]§[EB]]B`F

FORSYTH COUNTY, NORTH CABOLINA
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._ DETENTION SERVICES BUREAU
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Inmate Name: ,§.-',, »._ f ,' /','t_,{;-~, tr , Booking #: V,f/.` ,'»`. ‘;f- -' Housing Location: w
Grievance: ; ,_“-‘. - /’ ,\ `.» /,» , ,1 ,~_. ,-»./.1,.,~», .t ( -' ivy - ,,'~:,.,- - aff /.» , , .'
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My proposed resolution is: "__"T ,;1`,/ /,",. ,,¢,» ,¢' .- y ,a- < ,,. , ,¢_.;-,.»¢ _t, _, /.. ',{/.,, n ,, = ,_/
`/;`,, _- /. h ill _ ;' /: /:;\:/' (,,` /jl; ‘_ _ f `¢ !J.r tr fpl , A f,_ f f i',{ gm pt ' y f
""S " /':' .-l,.'¢ rr)t »' .¢'» " /, ,{" -»“ /'. it r ( /,"L ,» / ,¢€,»i /\ /'J)"

 

 

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Inmate Slgnature: ', "'u ,,r _# _,»\,i£ ¢, ,»,:~,»H_, , Booktng #: /;', 'Nr ('» 0 Date; ~_F;/(j;[_,é lira-

MNon Grievable NON G

l:l Grievance was rejected due to:

 

 

 

j .

 

Step I Assigned to (Name/Date) l f,/ _~,{'”/@,Mg!__ 51 3 j '° /('£'{
Step II Assigned to (Name/Date) y
Step III Assigned to }Name/Date)

*"/'/ ..'“i/Z;@ H,;i_ OSSI #: /_`/_§`id Date: jj Ul£'“//é`l

Grievance Officer

 

 

Signature: l, .

\ _

Step I Shift CommanderlSection Head or Designee

f__;;F,i,;,t!./a ne /;,et/sn,;;> /s /\/r> terra-aa /,-./{/'-

 

 

Signature: // ial/lana OSSI#= @:LD&W= M;[L})

Shift Commander/Section Head or Designee
\:il accept the action proposed by the Shift Comrnandcr/Section Head or Designee

 

l do not accept the proposed action because: i;¢{ ,e¢> /p,,¢.¢(;é@:»em:é MV' A.»,~a$~'»q , j :M‘
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FIQLDH»'€ `/AZ-€ A/f¢/é/ f'/%:»/ /#MAJ/f 147;;/ e"¢é/f / Aau: f-{f;£f';:g;)¢f¢':"~$'
Inmate Signature: §,,Azw f ~¢%x//e/M Booking #: /Q¢Q {/S¢/ Date: §'-' 30 - /f,`

If you do not accept a response, you must appeal within 5 days of the response date.

An Emergency Grievance may be given directly to the Housing Unit Officer who will forward the Grievance to the Shift
Commander. An Emergency Grievance may only be filed when a matter in which disposition within the regular time limits
would subject the inmate to a substantial risk of personal harm or injury, or remove the attainability of the requested action.

FCS 1 104A White - Fi|e l Ye||ow - |nmate Once Reso|ved l Pink - Inmate Upon Fteceipt 7 April 2016
Case 1:18-cv-00512-NCT-LPA Document 2 Filed 06/18/18 Paoe 13 of 14

OFFICE OF T]§[E SHEB[FF

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DETENTION SERVICES BUREAU

   

 

 

INMATE GRIEVANCE FoRM
Received:
#: f -
ory:
Inmate Name: /_, -. jr / `_f , , Booking #: f - Housing Location: §5‘ .
Grievance: .' » .;= , -.-, ‘_,~, »- _. re .‘ . .- _-,. ~ - j

 

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My proposed resolution is: \_ g . j . »‘- _ 1 :_ = . \. , 4

 

 

 

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Inmate Signature: `/ . ,, Booking #: " t Date:

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]:l Grievance was rejected due to:

 

 

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Step I Asslgned to (Name/Date) _ ,. jr rig ;,,»,_:,,‘,_., .- ‘ ' " f
Step II Assigned to (Name/Date)
Step III Assigned to (Npme/Date)

 

 

 

 

 

 

 

Signature: ,"’ " - z OSSI #: /"T,}..,-`.» Date: /-" -. 572 ¢"
' Grievance Officer 1 .- . " _,
Step I Shift CommanderlSection Head or Designee / x
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. ..L/AM:"-'i ,‘"7§'» /"-z"’»,<.` ',° -_ ‘ ,/ .,~1 /"i/' ./`.’ " '¢' /` -` `./';';f r',.\ "(L_
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Signature: "‘ ,»4`.',"_(`;; at

 

 

Shift|Commander/Scction Head or Designee
|:|I accept the action proposed by the Shift Commander/Section Head or Designee

|:|I do not accept the proposed action because:

 

 

 

Inmate Signature: Booking #: Date:

If you do not accept a response, you must appeal within 5 days of the response date.

An Emergency Grievance may be given directly to the Housing Unit Oft'lcer who will forward the Grievance to the Shift
Commander. An Emergency Grievance may only be filed when a matter in which disposition within the regular time limits
would subject the inmate to a substantial risk of personal harm or injury, or remove the attainability of the requested action.

FCS 1 1 O4A White - File / Ye||ow - inmate Once Reso|ved f Pink - |nmate Upon Receipi Apl'i| 2016

Case 1:18-cv-00512-NCT-LPA Document 2 Filed 06/18/18 Paoe 14 of 14

